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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
GAIL HINTERBERGER, BEVERLY WEISBECKER,
CYNTHIA WILLIAMS and MARCIA CARROLL, on
behalf of themselves and all other employees similarly
situated,
                                                                  Civil Action
                                            Plaintiffs,     No. 08-CV-0380 (WMS)

              v.

CATHOLIC HEALTH SYSTEMS, INC., et al.,

                                           Defendants.




                     MEMORANDUM OF LAW IN SUPPORT OF
                       PLAINTIFFS’ MOTION TO COMPEL




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                                 PRELIMINARY STATEMENT

         Plaintiffs seek an order compelling defendants to engage in meaningful meet and

confer    discussions   regarding   an   ESI     protocol   with   both   parties’   respective   ESI

experts/consultants. Defendants have refused to engage in any such conferrals with plaintiffs,

and until a few days ago, defendants had also failed to provide plaintiffs with their proposed

ESI protocol. Plaintiffs also seek an order that if the parties are unable to agree upon an ESI

protocol by a deadline set by the Court, that each side submit its own proposed ESI protocol

to the Court for a ruling as to which protocol should be adopted in this case.

     DEFENDANTS SHOULD BE COMPELLED TO ENGAGE IN MEANINGFUL
      MEET AND CONFER DISCUSSIONS REGARDING AN ESI PROTOCOL

         Plaintiffs do not oppose defendants’ use of predictive coding as a search methodology

for responsive ESI; plaintiffs’ objection here is to defendants’ refusal to engage in any

meaningful conferral with plaintiffs and to defendants’ lack of transparency in this process.

Defendants did not even provide plaintiffs with a proposed ESI protocol until a few days ago

and more than a month after announcing their intention to abandon the previous search

methodology the parties had agreed upon to search defendants’ ESI and instead utilize

predictive coding.

         Pertinent authority on the use of predictive coding as a search methodology (which

has been provided to the parties by this Court) instructs that cooperation, an important

aspect of which is transparency, is essential:

         [I]f the use of predictive coding is challenged in a case before me, I will want to
         know what was done and why that produced defensible results. … That may
         mean allowing the requesting party to see the documents that were used to
         train the computer-assisted coding system. … Proof of a valid “process,”
         including quality control testing, also will be important.




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Moore v. Publicis Groupe & MSL, --- F.R.D. ---, No. 11 Civ. 1279, 2012 WL 607412, at *2

(S.D.N.Y. Feb. 24, 2012). The Court in Moore further stated, “[a]n important aspect of

cooperation is transparency in the discovery process.       [Defendant’s] transparency in its

proposed ESI search protocol made it easier for the Court to approve the use of predictive

coding.” Id. at *11. In that case, the parties discussed and agreed upon, and the Court

endorsed, a detailed ESI protocol utilizing predictive coding that included the following

categories of information: the sources of potentially discoverable ESI; the custodians (email

accounts) to be searched; the search methodology to be utilized (predictive coding), which

included a detailed description of how the predictive coding process will work. Id. at *13-23.

       Defendants apparently believe that the only issue they need to discuss with plaintiffs,

if anything at all, is custodians. Moore clearly instructs that this is not the case. The entire

predictive coding process must be transparent.         For example, if a predictive coding

methodology that involves seed set documents is used, defendants must give their seed set

documents (the documents used to train the computer) to plaintiffs’ counsel.          Id. at *3.

Defendants’ proposed ESI protocol here does not provide for any such production. This is

just one example of the type of information the parties must exchange and the types of issues

that need to be discussed.

       Catholic’s predictive coding vendor and plaintiffs’ ESI consultant with predictive

coding expertise need to be part of the conferral process in order to resolve these types of

issues. The easiest and most efficient way to work this out is for counsel for both parties and

their respective ESI consultants to get together and hammer out all of the details necessary to

put a predictive coding protocol in place. This process simply will not work without the




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involvement of the ESI experts for both sides. But for defendants’ refusal to cooperate, an

ESI protocol could have already been in place by now. Further, any argument by defendants

that they have no choice but to proceed with their ESI search unilaterally in light of the

current ESI deadlines must be rejected because their own inactions have caused this

predicament.

                                      CONCLUSION

       For the foregoing reasons, plaintiffs respectfully request the entry of an Order

compelling defendants to engage in meaningful meet and confer discussions with the parties’

respective ESI consultants for the purpose of reaching agreement on an ESI protocol, and

that in the event the parties are unable to reach an agreement by a deadline set by the Court,

that each side submit its own proposed ESI protocol to the Court for a ruling as to which

protocol should be adopted in this case.

Dated: October 5, 2012

                                           THOMAS & SOLOMON LLP


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